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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


CHRISTOPHER MUTTERSBAUGH,              )
                                       )
       Plaintiff,                      )
                                       )            CIVIL ACTION NO.
       v.                              )              2:17cv746-MHT
                                       )                   (WO)
HYUNDAI MOTOR                          )
MANUFACTURING OF ALABAMA,              )
LLC,                                   )
                                       )
       Defendant.                      )

                              OPINION AND ORDER

       Plaintiff     Christopher           Muttersbaugh         brought    this

lawsuit      pursuant     to    the    Americans       with      Disabilities

Act,    as   amended      (ADA),      42    U.S.C.    §    12101    et    seq.,

against his former employer, defendant Hyundai Motor

Manufacturing of Alabama, LLC.                      Muttersbaugh asserts

five     claims:        (1)     failure        to     accommodate,             (2)

retaliatory        failure       to        promote,       (3)     retaliatory

termination,        (4)        general        retaliation,          and        (5)

discriminatory termination.                  Pending before the court

is   Hyundai’s      motion     for    summary       judgment       on    all   of

Muttersbaugh’s claims. The magistrate judge recommends

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granting    summary     judgment       on   all     claims.         After

reviewing the record and holding oral argument on the

magistrate judge’s recommendation, the court concludes,

as follows, that the motion should be granted as to all

claims except the failure-to-accommodate claim, which

will go to trial:

    (1) Failure to Accommodate: The magistrate judge

inappropriately      recommends        summary    judgment     on    this

claim.     He concluded the claim was untimely, and that,

even if timely, it would not survive summary judgment

because Muttersbaugh was not denied an accommodation.

For the reasons discussed below, the court finds that

there is a factual dispute as to whether the claim is

time-barred.        Furthermore,         there    are    disputes       of

material fact, precluding summary judgment, as to when

Muttersbaugh’s supervisor prevented him from eating and

whether    any   accommodation         Muttersbaugh      was   provided

with was effective.

    (2) Retaliatory Failure to Promote: The magistrate

judge     inappropriately        applied      the       discriminatory


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failure-to-promote         test,    rather    than    the    retaliatory

one.     Applying the retaliatory failure-to-promote test,

this claim should not survive summary judgment because

Muttersbaugh showed no evidence, beyond impermissible

hearsay       statements,        that     raise      a      specter       of

retaliation.

       (3) Retaliatory Termination: The magistrate                    judge

properly       concluded        that      summary        judgment         was

appropriate on this claim because Muttersbaugh failed

to     show     sufficient       pretext      to     rebut     Hyundai’s

legitimate, non-retaliatory reason for firing him.

       (4) Claim of Other Assertions of Retaliation: The

magistrate judge properly concluded that this claim is

time-barred.

       (5) Discriminatory          Termination:       The     magistrate

judge    properly      concluded       that   summary     judgment        was

appropriate on this claim because Muttersbaugh failed

to     show     sufficient       pretext      to     rebut     Hyundai’s

legitimate, non-discriminatory reason for firing him.




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                 I.     SUMMARY-JUDGMENT STANDARD

        “A   party       may     move          for    summary        judgment,

identifying each claim or defense--or the part of each

claim or defense--on which summary judgment is sought.

The court shall grant summary judgment if the movant

shows    that    there      is   no   genuine         dispute       as   to   any

material fact and the movant is entitled to judgment as

a matter of law.”            Fed. R. Civ. P. 56(a).                  The court

must view the admissible evidence in the light most

favorable       to    the      non-moving        party        and    draw     all

reasonable      inferences       in   favor      of    that     party.        See

Matsushita      Elec.       Indus.    Co.,      Ltd.     v.    Zenith       Radio

Corp., 475 U.S. 574, 587 (1986).



                      II. FACTUAL BACKGROUND

    The alleged facts viewed in favor of Muttersbaugh

are as follows.

    Muttersbaugh            worked        as     a     Warranty          Reclaim

Specialist at Hyundai from May 2010 to February 2013,

when he was terminated.               His position required him to


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review warranty claims and handle payments or charge

backs to Hyundai suppliers.              His direct supervisor was

Jennifer Bayless, and her supervisor was Mark Rylatt.

    Muttersbaugh       requested        reasonable     accommodations

for type 1 diabetes.         Muttersbaugh has type 1 diabetes

and needs to eat throughout the day to maintain his

blood-sugar    levels.       If    he    experiences       low    or   high

blood-sugar events, the impact can range from momentary

weakness to loss of consciousness.                 In order to manage

his diabetes in the workplace, he requested reasonable

accommodations from his supervisors Bayless and Rylatt

shortly after he was hired.             Specifically, he requested

being allowed to eat meals and snacks on a routine

basis,   working    consistent      hours    (including          having   a

consistent     start     time)     and     taking     time       off    for

diabetes-related       doctors’     appointments       and       diabetic

episodes.

    Throughout      Muttersbaugh’s         employment,       supervisor

Rylatt    prevented      him      from     using     his     reasonable

accommodations and made fun of his disability.                          For


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example,      in    2010,    Muttersbaugh          had    a    severe     insulin

reaction       in   Hyundai’s       parking        lot,       and    a   coworker

called for medical attention.                      The next day, Rylatt

told     Muttersbaugh        that   he       had   either      heard     or   seen

Muttersbaugh “flopping around like a fish out of water”

either in an ambulance or on a stretcher.                           Muttersbaugh

Declaration (doc. no. 31-3) at 3.                   Rylatt admitted that

he heard about the incident in the parking lot but

denied make derogatory comments about it.                           Furthermore,

when Rylatt would see Muttersbaugh eating a meal or

snack at his desk, Rylatt would criticize him for not

working and tell him that he needed an assignment to be

completed       immediately.             These      interruptions          forced

Muttersbaugh to delay his meal or snack.

       Rylatt retaliated against Muttersbaugh, throughout

his        employment,          for            requesting             reasonable

accommodations         and    reporting        Rylatt’s        discriminatory

behavior. Rylatt retaliated against Muttersbaugh in the

following ways:




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(1)     Rylatt     gave    Muttersbaugh       lower      end-of-year

      performance reviews for the years 2010 and 2011.

(2)     Rylatt told Muttersbaugh he was required to use

      vacation    time    for    doctor’s     appointments,       even

      though that is not Hyundai’s policy.

(3)     Rylatt    subjected      Muttersbaugh       to    heightened

      scrutiny.

(4)     Rylatt expressed frustration with Muttersbaugh

      when he was away from his desk for 20 minutes due

      to having an insulin reaction.

(5)     Rylatt reported false information to attempt to

      discipline Muttersbaugh.

(6)     Rylatt expressed frustration with Muttersbaugh

      that he met with Hyundai’s Human Resources and

      said   he   would    not    pay   him    overtime     for       the

      meeting.

(7)     Rylatt told the individual, who was in charge

      of hiring Muttersbaugh in a different department,

      not to choose him.




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     (8)      Rylatt        “forced”            Bayless        to       discipline

            Muttersbaugh        even            when         she       found         it

            inappropriate.

     (9)      Rylatt’s        discriminatory                 animus       led        to

            Muttersbaugh’s termination.

       Muttersbaugh’s job duties changed and his request

to     remain     on     his       original           schedule      was      denied.

Beginning in early 2011, the Warranty Reclaim Group was

informed       that    it    had     to    perform          additional       duties,

including       driving        and     quality          evaluations.               This

involved       moving       vehicles       from        one     parking       lot     to

another during Muttersbaugh’s lunch hour.                             Muttersbaugh

requested to eat during that time, but Rylatt said he

had to move the cars.

       In    2011,     Muttersbaugh             took    his     request       for    a

regular lunch time to Human Resources at least twice.

Human       Resources    told      him     he     was       required    to    follow

Rylatt’s       instructions          and       made    no    further      steps     to

interact with Muttersbaugh regarding the provision of

reasonable       accommodations.                Missing       lunch     or    eating


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lunch       significantly         later           than      normal      caused

Muttersbaugh to experience insulin reactions.

       After Muttersbaugh was approved for time away from

work under the Family and Medical Leave Act (FMLA), 29

U.S.C.      §   2601    et    seq.,     for      his     diabetes,     Rylatt’s

efforts         to     discriminate             and    retaliate       against

Muttersbaugh intensified.                Bayless          told Muttersbaugh

that Rylatt was looking for ways to get rid of him and

advised him to apply for FMLA leave to protect his

diabetes-related            absences.            Rylatt’s        treatment    of

Muttersbaugh grew worse after he was approved for FMLA

for     his     diabetes.         Specifically,             he     interrupted

Muttersbaugh’s use of reasonable accommodations (such

as     stopping      work    to   eat       a    snack    at     his   desk   to

alleviate a diabetic event) on a weekly basis.                                On

February 10, 2012, Muttersbaugh requested to break for

lunch, but Rylatt denied this request and Muttersbaugh

continued to work; as a result, he suffered a severe

insulin reaction.




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       In February 2012, and as referenced above, Rylatt

gave Muttersbaugh a negative performance review for the

year       2011,    causing     Muttersbaugh      to     be   put   on      a

performance improvement plan and lose eligibility for a

yearly raise.

       Rylatt also complained about Muttersbaugh’s use of

reasonable          accommodations.           Theressa        James,       an

Assistant Manager in the Quality Evaluation Department,

overheard       a    conversation      between     Rylatt     and    Chris

Susock,      the     Director    of    Quality,     in    which     Rylatt

complained about Muttersbaugh taking so many days of

his FMLA for his diabetes.             Specifically, she overheard

Rylatt say that Muttersbaugh should be able to get his

blood sugar in order and not take the entire day off,

and that he was “going back to [Human Resources] to see

what can be done.”            James Declaration (doc. no. 31-4)

at    3.     James    felt    the   conversation       was    “completely

inappropriate” and wrote an email to Robert Clevenger,

Manager for the Team Relations Department, about the

conversation.         Id. at 2.       James met with Clevenger and


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Sheron Rose, Team Relations Director, to discuss the

conversation and tell them that Rylatt had claimed he

was   changing      time    sheets.         Clevenger    and     Rose   told

James that they were investigating the incident.

      Rylatt       thwarted       Muttersbaugh’s         promotion.       In

December       2012,       Muttersbaugh       sought      and     received

confirmation from Human Resources that he was eligible

for a job transfer or promotion.                He interviewed for a

position in a new department, but he was not chosen

because Rylatt told the individual in charge of hiring

not to choose him.

      Muttersbaugh         was    terminated      for    violating       the

Workplace      Threats      and    Violence     Policy     and     Serious

Misconduct Policy.          On the evening of January 29, 2013,

Muttersbaugh had a blood-sugar event and, as a result,

could   not    go    to    work   on    January    30.      He    received

permission to use FMLA for a diabetic event.                     That day,

Christina Blue, an employee, reported concerns about a

conversation she had with Muttersbaugh on January 29 to

Bayless     that     she    had    heard     Muttersbaugh        say    that


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everyone        who    works    on     the        third     floor     of     the

administration         building      was    not    worth     the     air    they

breathe.        When discussing drug screens, Muttersbaugh

said he would curse at the person who administers drug

tests if he was ever tested.                       Blue responded that,

considering recent school shootings, he should not make

comments like that.            Muttersbaugh allegedly responded

that he “wouldn’t come in to shoot someone [he] had a

disagreement against, [he] would just plant a bomb and

tie it to the phone and call in to detonate.”                         January

30,    2013     Memo   from    Bayless       to    Clevenger        (doc.    no.

27-10) at 2; Clevenger Declaration (doc. no. 27-1) at

5.     According to a Team Relations Memo on the incident,

another witness heard Muttersbaugh say “he would just

walk in and shoot the person; he would place something

like     a    device    and    then        just    phone     the     person.”

February 1, 2013 Team Relations Memo (doc. no. 27-11)

at 2.

       Robert     Clevenger       classified          the     incident        as

workplace violence and initiated an investigation in


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which employees who had participated in the January 29

conversation       were       interviewed.           Rylatt,     who   did   not

participate        in        the   January        29     conversation,       was

interviewed but he does not remember what he said, and

no notes were recorded from his interview.                        Bayless was

not interviewed.              Clevenger did not seek any opinions

from supervisors about Blue’s general character or her

credibility.

       On January 31, Muttersbaugh was escorted to the

security office at work.                   Rylatt and Human Resources

accused Muttersbaugh of threatening to plant explosives

at    Hyundai.          He    denied      the     accusations.         At    his

deposition        for    this        case,      he     further    denied     the

accusations, but he did admit that he told an employee

that     people    could       get    a    bomb      into    Hyundai   because

security does not check backpacks.                          Hyundai suspended

Muttersbaugh without pay.                      Muttersbaugh called Human

Resources for an update following his suspension, and

he was told that he was fired.                       On February 6, Human

Resources sent Muttersbaugh a letter informing him of


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the alleged reasons for termination, which included:

(1) his comment “about potentially placing an explosive

device   at”   Hyundai;      and    (2)    “profane     and    hateful

comments regarding other Team Members in a threatening

and aggressive manner.”            Termination Letter (doc. no.

27-16) at 2.

    Kelly Rucker, the head of the Workplace Violence

Committee, relied on Team Relations to do a thorough

investigation including looking at past disciplines and

make recommendations.        At his deposition, Rucker stated

that, at the meeting with Team Relations, there were no

discussions    of   Muttersbaugh’s        medical     condition     and

that he did not have any knowledge about his medical

condition.     Rucker Deposition (doc. no. 27-15) at 20.

Muttersbaugh stated that he had “no definitive proof”

that Rylatt had anything to do with his termination.

Muttersbaugh Deposition (doc. no. 27-4) at 52.

    Muttersbaugh filed an EEOC Charge on June 6, 2013.

His EEOC charge stated:

    “I was hired by the above named employer on May
    3, 2010, as a Warranty Reclaim Specialist.    I

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    have Type 1 diabetes, a disability that my
    employer was aware of.           Because of my
    disability,   I   am  required     to  eat   meals
    frequently and regularly.      I would remind my
    management staff that I needed to eat meals at
    specific times frequently, and was frequently
    denied   by   Mark   Rylatt,    the   manager   of
    Information.     I complained to Sheron Rose,
    Human   Resource   Director    about   my   unfair
    treatment from Mark Rylatt, and things became
    worse. I was retaliated against because of my
    complaint about my start times and finish times
    changing, which affected my eating schedule.
    On   February   6,   2013   my    employment   was
    terminated by [Hyundai].

    “I was terminated because I committed workplace
    violence, which I deny. [Hyundai] claims that
    I had been written up before for violence,
    which I also deny.     [Hyundai] legal counsel
    Chris Whitehead claims that I had ‘redness in
    the face, and my hands were shaking.’     These
    are symptoms of low blood sugar, and had been
    explained to management. My direct supervisor
    Jennifer Bayless was aware of this, as a few
    days after the incident occurred, I had no
    recollection of the ‘incident’ and reminded her
    of my low blood sugar. She had witnessed a few
    insulin reactions at this point, and had
    assisted as necessary.

    “There have been several other incidents that I
    have documentation related too.    I believe I
    was   discriminated  against   because  of   my
    disability in violation of the Americans with
    Disabilities Act of 1990, as amended.”

EEOC Charge (doc. no. 27-27) at 2.



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                         III. DISCUSSION

              A.   Failure-to-Accommodate Claim

    The      magistrate        judge        concluded      that      the

failure-to-accommodate       claim     was    untimely,     and    that,

even if timely, it would not survive summary judgment

because Muttersbaugh was not denied an accommodation.

The court finds that the claim was not untimely, and

that there are disputes of material fact as to when

Muttersbaugh’s supervisor prevented him from eating and

whether any accommodation Muttersbaugh was provided was

effective.           Therefore,         summary         judgment        is

inappropriate.



    i.    The magistrate judge erred in concluding that
          Muttersbaugh’s failure-to-accommodate claim is
          time-barred.

    Hyundai           argued           that           Muttersbaugh’s

failure-to-accommodate       claim     is    time-barred,     and    the

magistrate judge agreed.         The court disagrees and finds

that the claim is timely.




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      A plaintiff raising a claim under Title I of the

ADA must comply with the same procedural requirements

articulated in Title VII of the Civil Rights Act of

1964.       See    42    U.S.C.     §   12117(a)       (incorporating         the

procedures set forth in 42 U.S.C. § 2000e–5). As such,

before     filing       suit   in   district       court,     the     plaintiff

must first file a charge of discrimination with the

EEOC.      See    42     U.S.C.     § 2000e-5(e)(1);              Wilkerson    v.

Grinnell Corp., 270 F.3d 1314, 1317 (11th Cir. 2001).

For   an    EEOC    charge     to   be       timely,    it   must     be    filed

within 180 days of when the alleged violation occurred.

See 42 U.S.C. § 2000e-5(e)(1).                  Once the EEOC dismisses

the charge and notifies the plaintiff of his right to

sue, the plaintiff has 90 days in which to file suit on

his     claim      in     district        court.            See     42     U.S.C.

§ 2000e-5(f)(1); Santini v. Cleveland Clinic Florida,

232 F.3d 823, 825 (11th Cir. 2000).

      Muttersbaugh        filed     his      charge    on    June     6,    2013;

thus, any incidents occurring prior to December 8, 2012

(180 days before) are time-barred.                     Hyundai argued, and


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the magistrate judge agreed, that, because Muttersbaugh

pointed       to    discrete     and    severable         events    that    all

occurred before December 8, 2012, in his deposition and

interrogatory responses, he was not denied reasonable

accommodations after December 8, 2012.                           However, the

fact that Muttersbaugh provided these dates does not

foreclose          the   possibility         that    he   was    also    denied

accommodations at other times.                      Muttersbaugh stated in

both his interrogatory responses and declaration that

he was denied accommodations throughout his employment,

not    only    before        December    8,     2012.     See    Muttersbaugh

Declaration          (doc.     no.      31-3)        at   3;     Muttersbaugh

Responses to Hyundai Interrogatories (doc. no. 27-18)

at    10-11.         Thus,    the    court     finds      that   there     is   a

factual dispute as to whether Muttersbaugh’s claim is

time-barred.



      ii. The magistrate judge erred in concluding that
          summary judgment is appropriate, for disputes
          of   material    fact    exist  as    to   when
          Muttersbaugh’s supervisor prevented him from
          eating    and    whether    any   accommodation
          Muttersbaugh was provided with was effective.

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      There are disputed issues of fact on the merits,

which preclude summary judgment:                      (1) whether Rylatt

prevented Muttersbaugh from eating while moving cars or

during other times in the day, and (2) whether such

denials     of     food        made      his    overall        accommodation

ineffective.

      A disabled employee is entitled to a reasonable

accommodation, and an ineffective accommodation is not

an accommodation.           See U.S. Airways, Inc. v. Barnett,

535    U.S.       391,     400        (2002)        (“It    is     the   word

‘accommodation,’          not      the       word    ‘reasonable,’       that

conveys     the   need     for    effectiveness.            An   ineffective

‘modification’ or ‘adjustment’ will not accommodate a

disabled individual’s limitations.”)

      The   magistrate         judge     concluded     that      Muttersbaugh

received      an         effective           accommodation,         including

opportunities to obtain food during his work day, such

as food from the vending machine at nearly any point in

the   day   except       for     when    he    was    moving     cars.    The

magistrate        judge     also        noted       that,     “Despite    his

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complaint he was not given a ‘regular’ lunch break,

Muttersbaugh       could     take   his        lunch   either    before      or

after his driving duties were completed.”                        Report and

Recommendation         (doc.     no.      47)     at     12.          However,

Muttersbaugh          contends         that:           This      conclusion

“misunderstands        the    nature      of    Plaintiff’s      disability

and accommodation needs.            With a larger meal like lunch

Plaintiff may have some flexibility as to when he eats,

but with snacks (smaller meals), he may not.                      Sometimes

even minutes-long delays in consuming appropriate food

or beverages can have hours-long adverse effects. ...

As    a   result,     the     delays      Rylatt       often    imposed      on

Plaintiff’s eating lunch and consuming snacks (separate

from and in addition to when Muttersbaugh moved cars)

effectively       denied     Plaintiff’s        access    to    and    use   of

reasonable       accommodations.”               Plaintiff’s      Objections

(doc. no. 50) at 4.

      Summary     judgment     is   inappropriate         at    this     stage

because, with the record and reasonable inferences read

in the light most favorable to Muttersbaugh, disputed


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issues of material fact exist, including whether Rylatt

prevented Muttersbaugh from eating while moving cars or

during other times in the day, and whether such denials

of food made his overall accommodation ineffective.


           B.     Retaliatory Failure-to-Promote Claim

      Muttersbaugh alleged that, around December 2012,

he was not selected for a promotion because of his

disability and his requests for accommodations.                 He had

applied for promotion to an Assistant Manager position

in the Quality Evaluation Department.                 He interviewed

for the position and was told that he was the most

qualified for the position but he was ultimately not

chosen.     He    was   later     told    that    Rylatt    told    the

individual in charge of hiring him, Mark Radar, not to

choose him.

      A failure-to-promote claim may be brought under

two    theories     with      different       legal     tests:      (1)

discriminatory failure to promote and (2) retaliatory

failure to promote.         The magistrate judge applied the

discriminatory          failure-to-promote             test,        but

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Muttersbaugh brought this claim under the retaliatory

failure-to-promote theory.              See Plaintiff’s Response to

Motion for Summary Judgment (doc. no.                    32) at 47.       In

applying      the    discriminatory         failure-to-promote         test,

the       magistrate          judge         concluded         that       the

failure-to-promote claim should be dismissed for two

reasons:      (1)        Muttersbaugh      failed     to     exhaust     his

administrative remedies; and (2) he failed to make out

a prima-facie case.

      Regarding the first reason, the magistrate judge

erred in concluding that Muttersbaugh did not exhaust

his      administrative         remedies.             His     retaliatory

failure-to-promote           claim     fits    squarely       within     his

initial EEOC charge, which alleged retaliation.

      With regard to the second reason, the magistrate

erred    in    concluding       that       Muttersbaugh      brought     the

failure-to-promote claim under a discriminatory theory,

rather     than      a     retaliatory      theory.         Nevertheless,

applying the retaliatory failure-to-promote test, the

court    holds      that    summary    judgment     is     appropriate    on


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this    claim   because     Muttersbaugh       failed    to    present

evidence,     beyond   hearsay     statements,        that    raised     a

specter of retaliation.



       i.   The magistrate judge erred in concluding that
            Muttersbaugh did not exhaust his administrative
            remedies, for the failure-to-promote claim is
            like or related to, or growing out of the
            retaliation allegations contained in the EEOC
            charge.

       Muttersbaugh alleged in his EEOC charge that he

engaged in statutorily protected activity by requesting

accommodations and by complaining about discriminatory

conduct.     See EEOC Charge (doc. no. 27-27) at 2.                     In

his charge, he stated that he was “retaliated against”

and “There have been several other incidents that I

have documentation related to[].” Id.                 Hyundai argued

that Muttersbaugh did not exhaust his administrative

remedies     because   he   did   not    explicitly      include    the

failure-to-promote claim as a basis for his retaliation

claims in his charge.          The magistrate judge erred in

agreeing        with        Hyundai.              A       retaliatory

failure-to-promote claim is a form of retaliation that

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is    like   or    related    to    Muttersbaugh’s      allegations        of

retaliation in his EEOC charge.

      In order to make an ADA claim in federal district

court,       a      plaintiff       must      first         exhaust      his

administrative         remedies       by    filing      a     charge       of

discrimination with the EEOC.               See Batson v. Salvation

Army, 897 F.3d 1320, 1327 (11th Cir. 2018).                         Judicial

claims are allowed if they amplify, clarify, or more

clearly focus the allegations in the EEOC complaint,

but    allegations       of   new    acts    of   discrimination        are

inappropriate.          See id.       However, a court should be

extremely reluctant to allow procedural technicalities

to bar claims brought under discrimination statutes.

See id.          Thus, to determine whether a plaintiff has

exhausted        his   administrative        remedies,        the     proper

inquiry is whether the plaintiff’s complaint is like or

related to, or grew out of, the allegations contained

in the EEOC charge.           See id. at 1328.

      Muttersbaugh exhausted his administrative remedies

on the failure-to-promote claim because he stated that


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he     was    retaliated        against    in    his    charge.         His

retaliatory        failure-to-promote           claim    is    ‘like       or

related to’ or ‘grew out of’ the retaliation claims

alleged in the EEOC charge.               Thus, Hyundai’s argument

is without merit, and the magistrate judge erred in

agreeing with it.



      ii. Nevertheless,      under     a      retaliatory
          failure-to-promote theory, Muttersbaugh’s claim
          does not survive summary judgment.

      Muttersbaugh alleges that Rylatt retaliated against

him    for    engaging     in    statutorily      protected        conduct,

including requesting reasonable accommodations.                        As a

result of Rylatt retaliating against him, according to

Muttersbaugh, he was not promoted.                Hyundai argues that

summary      judgment     should     be    granted      on    this   claim

because      Muttersbaugh        failed    to    establish     a     causal

connection between his protected activities and being

denied a promotion.          The court agrees that the evidence

presented is insufficient to survive summary judgment.




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       An employee may establish a prima-facie case of

retaliation       by     showing              that:     (1)     he         engaged     in

statutorily protected activity; (2) he experienced an

adverse employment action; and (3) there is a causal

connection       between          the        protected        activity        and     the

adverse       action.             See        Batson,    897         F.3d     at     1329.

Muttersbaugh failed to establish a prime-facie case,

specifically that there was a causal connection between

his protected activities and being denied a promotion.

Specifically, he alleges that he was told that he was

the    most    qualified          applicant           for     the    job     and     that

Rylatt told the decisionmaker, Mark Radar, not to hire

him.         Muttersbaugh           argues           that     these         facts,     in

combination           with         other            evidence         of       Rylatt’s

discriminatory animus and retaliation, could be seen by

a reasonable juror as supportive of retaliatory failure

to promote.

       The    court    finds       that        Muttersbaugh’s            claim      fails

because        there         is         no         evidence         of      causation.

Specifically, he failed to present any evidence, beyond


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inadmissible         hearsay       statements          in    his    declaration,

that    Rylatt     had      any    impact       on     the    decision    not    to

promote Muttersbaugh.



                   C.      Retaliatory Termination Claim

       Muttersbaugh argues that Rylatt retaliated against

him for his request for and use of accommodations by

setting into motion a series of events that led to his

termination.         The magistrate judge recommended granting

summary     judgment        on     this    claim       because      Muttersbaugh

failed to refute Hyundai’s legitimate, non-retaliatory

reason for termination.                 The court agrees.

       Again, an employee may establish a prima-facie case

of    retaliation        by    showing         that:    (1)    he    engaged     in

statutorily protected activity; (2) he experienced an

adverse employment action; and (3) there is a causal

connection       between          the     protected         activity     and    the

adverse action.            See Batson, 897 F.3d at 1329.                  Once an

employee       has      established            a     prima-facie       case     of

retaliation,         the      burden      shifts       to    the    employer     to


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articulate a legitimate reason for the adverse action.

See id.        If the employer meets this burden, the burden

shifts         back    to     the    employee          to     demonstrate

pretexr--that is, to present evidence “sufficient to

permit     a    reasonable    factfinder     to   conclude       that       the

reasons given by the employer were not the real reasons

for    the     adverse      employment    decision.”            Id.         The

retaliatory-termination claim should be denied because

Muttersbaugh has failed to sufficiently rebut Hyundai’s

legitimate reason for terminating him.




      i.     The magistrate judge properly concluded that
             Hyundai articulated a legitimate reason for
             terminating Muttersbaugh.

      The court will assume that Muttersbaugh established

a   prima      facie   case    of   retaliation.            Hyundai     must,

therefore,       articulate     a    legitimate        reason     for       the

challenged       action.      See   Chapman,      229   F.3d     at     1024.

“However,       the    employer’s     burden      is    merely        one    of

production; it need not persuade the court that it was

actually motivated by the proffered reasons.                           It is

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sufficient if the defendant’s evidence raises a genuine

issue of fact as to whether it discriminated against

the plaintiff.”            Id.

       The    magistrate          judge       properly      concluded          that

Hyundai       articulated          a     legitimate,        non-retaliatory

reason for terminating Muttersbaugh:                       he violated the

Workplace      Threats       and       Violence    Policy,        which       is    a

legitimate,         non-retaliatory             reason     for     firing          an

employee.

       Consistent      with       company      procedures        when    dealing

with     potentially         serious          policy     violations,       Kelly

Rucker, Hyundai’s Senior Manager of Human Resources,

reviewed the investigation findings along with a few

other managers.            The investigation included soliciting

and    reviewing      three        eye-witness         accounts,       which   all

supported the allegations.                The court was not presented

with    any    evidence          suggesting      that     any     of    the     eye

witnesses      had     a     motive       to     lie--in       particular,          a

retaliatory         one.         After   reviewing       the     investigation

findings      and    Muttersbaugh’s            disciplinary       history,         as


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well as having a discussion with other managers, Rucker

determined       that    Muttersbaugh’s         actions       violated

Hyundai’s Workplace Threats and Violence Policy.                  It is

undisputed that other employees have been terminated

for violating this policy.             See Clevenger Declaration

(doc. no. 27-1) at 7.



    ii. The magistrate judge properly concluded that
        Muttersbaugh failed to cast sufficient doubt
        that Hyundai did not fire him for violating a
        workplace policy.

    Because Hyundai has articulated a legitimate reason

for terminating Muttersbaugh, the burden shifts back to

Muttersbaugh to present evidence “sufficient to permit

a reasonable factfinder to conclude that the reasons

given by the employer were not the real reasons for the

adverse employment decision.”             Hurlbert, 439 F.3d at

1298.    If     Muttersbaugh      fails   to   meet    this    burden,

Hyundai is entitled to summary judgment.                See Combs v.

Plantation      Patterns,   106   F.3d    1519,   1538    (11th      Cir.

1997).     At    summary    judgment,     Muttersbaugh        need    not

prove pretext; instead, he must only “cast sufficient

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doubt” such that a jury could reasonably infer that

Hyundai’s “proffered legitimate reasons were not what

actually motivated its conduct.”               Batson, 897 F.3d at

1331.

    The court finds that Muttersbaugh failed to cast

sufficient        doubt       on         Hyundai’s           legitimate,

non-retaliatory reason for firing him.                  Muttersbaugh’s

evidence of pretext, that is, his own denial of making

the statements at issue, is insufficient.                The evidence

reflects three eye-witness accounts, and there is no

evidence   that   Hyundai     relied      on   these    witnesses      for

improper     reasons.         See       Alvarez    v.        Royal   Atl.

Developers, Inc., 610 F.3d 1253, 1266 (11th Cir. 2010)

(“We do not sit as a ‘super-personnel department,’ and

it is not our role to second-guess the wisdom of an

employer's    business     decisions--indeed           the    wisdom    of

them is irrelevant--as long as those decisions were not

made with a discriminatory motive.”).                   Thus, summary

judgment is appropriate.




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               D. Other-Assertions-of-Retaliation Claim

       The    magistrate         judge       properly       concluded          that

Muttersbaugh’s remaining assertions of retaliation were

time-barred.



                    E. Discriminatory Termination Claim

       Muttersbaugh alleges that Rylatt was biased against

him,     based      on    his    disability         and    related       use     of

accommodations           for    his   disability,          and    that    Rylatt

intentionally set into motion a chain of events that

caused        his    termination.              The        magistrate          judge

recommended         summary     judgment      on    this    claim,       in    part

because Muttersbaugh did not make a sufficient showing

of       pretext         to      rebut         Hyundai’s           legitimate,

non-discriminatory             reason    for       terminating       him.       The

court agrees.

       Assuming      Muttersbaugh         established        a     prima-facie

case     of    discrimination,           Hyundai      must       articulate      a

legitimate,           non-discriminatory             reason         for         the

challenged action. See Chapman, 229 F.3d at 1024. If


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Hyundai        articulates        one            or      more          legitimate,

non-discriminatory             reasons           for        terminating             the

plaintiff, “the burden shifts back to the employee to

demonstrate that the ‘employer’s proffered reason was

pretextual by presenting evidence sufficient to permit

a reasonable factfinder to conclude that the reasons

given by the employer were not the real reasons for the

adverse      employment     decision.’”               Batson,         897    F.3d    at

1329     (quoting      Martin,    543       F.3d       at    1268).          If     the

employee does not proffer sufficient evidence to create

a genuine issue of material fact regarding whether each

of    the    defendant     employer’s            articulated           reasons       is

pretextual,        the    employer          is        entitled        to     summary

judgment. See Combs, 106 F.3d at 1538.

       The   court     finds    that    Hyundai          had      a    legitimate,

non-discriminatory         reason       to       fire       Muttersbaugh--that

is,     he    violated      Hyundai’s            Workplace            Threats       and

Violence      Policy.       For   the       reasons         discussed        in     the

retaliatory-termination             claim              above,          the      court

concludes       that     Muttersbaugh            failed      to       sufficiently


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rebut        Hyundai’s    reason           for        terminating     him     with

pretext.

                                                ***

      Accordingly, for the above reasons, it is ORDERED

as follows:

      (1) Plaintiff Christopher Muttersbaugh’s objections

(doc. no. 50) are sustained as to his ADA accommodation

claim and are overruled in all other respects.

      (2) The      recommendation               of     the    magistrate    judge

(doc.        no.   47)         is     rejected           as     to     plaintiff

Muttersbaugh’s ADA accommodation claim and is adopted

in all other respects.

      (3) Defendant            Hyundai           Motor       Manufacturing     of

Alabama, LLC’s motion for summary judgment (doc. no.

25)     is    denied     as     to        plaintiff      Muttersbaugh’s       ADA

accommodation          claim        and     is       granted    in    all   other

respects.

      (4) Summary        judgment           is        entered    in   favor    of

defendant Hyundai Motor Manufacturing of Alabama, LLC




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on all of plaintiff Muttersbaugh’s claims except his

ADA accommodation claim.

    (5) Plaintiff Muttersbaugh’s ADA accommodation will

go to trial.

    DONE, this the 24th day of May, 2019.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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